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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS




 BEACON ABA SERVICES, INC.,

                   Plaintiff,

        v.                                        Adv. Pro. No. 19-01070

 MEGHAN J. DEPIN,

                   Defendant.



              AGREEMENT FOR NONDISCHARGEABLE JUDGMENT

         It is hereby agreed between the Plaintiff and the Defendant that a Nondischarable
Judgment Judgment in the amount of Seven Thousand Four Hundred and Sixty Dollars 00/100
($7,460.00) and that such Judgment shall be nondischargeable. Undersigned counsel of record in
this action represent that they are fully authorized to execute and enter into this Stipulated
Judgment for Nondischargeability on behalf Beacon ABA Services, Inc. The respective parties
whom they represent and acknowledge they have authority to bind the parties in the Adversary
Proceeding.

MEGHAN J. DEPIN,                                BEACON ABA SERVICES, INC.

By her attorney,                                By its counsel:




/s/ Christopher Carreiro                        /s/ Carlo Cellai
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